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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

Jeanette Lapsker,                                      Case No.

          Plaintiff,

v.                                                                COMPLAINT

Northstar Location Services, LLC
c/o CT Corporation System
208 S. LaSalle Street, Suite 814                       Jury Demand Requested
Chicago, IL 60604,

                             Defendant.

                                      JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

         §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff is a resident of the State of Illinois.

     4- Plaintiff is a “consumer” as defined in the Fair Debt Collection Practices Act, 15 USC

         1692 et seq. (“FDCPA”).

     5- Plaintiff incurred a “Debt” as defined in the FDCPA.

     6- Defendant is a corporation with its principal office in the State of New York.

     7- Defendant acquired the Debt after it was in default.

     8- Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after

         the same were in default.




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9- Defendant uses instruments of interstate commerce for its principal purpose of business,

   which is the collection of debts.

10- At all times relevant, Defendant was a “debt collector” as defined in the FDCPA.

                         FACTS COMMON TO ALL COUNTS

11- Prior to March 30, 2019, Plaintiff incurred an obligation for a personal, medical debt (the

   “Debt”).

12- Prior to March 30, 2019, Plaintiff defaulted on the Debt.

13- On March 30, 2019, Plaintiff filed a voluntary Chapter 7 bankruptcy petition (the

   “Petition”) that included the Debt.

14- By filing a bankruptcy petition, Plaintiff gained the protection of the automatic stay for all

   debts incurred before March 30, 2019.

15- Despite the Petition, on or around April 2, 2019, Defendant mailed a letter to Plaintiff to

   collect the Debt.

16- At the time of this communication, Defendant knew, should have known, that Plaintiff had

   filed bankruptcy.

17- By trying to collect a debt that was included in bankruptcy, Defendant violated the

   FDCPA.

18- Defendant damaged Plaintiff.

                                             COUNT I

19- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

20- Defendant violated 15 USC § 1692e(2) by misrepresenting the character, amount, and/or

   legal status of the Debt.




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                                                COUNT II

21- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

22- Defendant violated 15 USC § 1692e(10) by using false representations and/or deceptive

    means to collect, or attempt to collect, the Debt.

                                                COUNT III

23- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

24- Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to

    collect, or attempt to collect, the Debt.

                                                COUNT IV

25- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

26- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

    methods to collect a debt.

                                         JURY DEMAND

27- Plaintiff demands a trial by jury.

                                  PRAYER FOR RELIEF

28- Plaintiff prays for the following relief:

     a. Judgment against Defendant for Plaintiff’s actual damages, as determined at trial,

         suffered as a direct and proximate result Defendant’s violations of the Fair Debt

         Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

     b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

         violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

         §1692k(a)(2)(A);




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c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

   incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

d. Any other legal and/or equitable relief as the Court deems appropriate.

                                     RESPECTFULLY SUBMITTED,

                                     Meier LLC

                                     By:/s/ Richard J. Meier
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